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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                                                             ORDER
            -against-
                                                          22 Cr. 19 (PGG)

ARTHUR BOGORAZ,

                         Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              The conference in this matter scheduled for August 16, 2024 at 9:30 a.m.

is adjourned to August 16, 2024 at 10:00 a.m.

Dated: New York, New York
       August 15, 2024
                                           SO ORDERED.


                                           _________________________________
                                           Paul G. Gardephe
                                           United States District Judge
